   Case 3:19-bk-32484-SHB             Doc 48 Filed 09/09/22 Entered 09/09/22 10:54:15   Desc
                                      Main Document     Page 1 of 2
The application is granted, with employing relating back to August 5, 2019.




SO ORDERED.
SIGNED this 8th day of September, 2022


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




    _____________________________________________________________
Case 3:19-bk-32484-SHB   Doc 48 Filed 09/09/22 Entered 09/09/22 10:54:15   Desc
                         Main Document     Page 2 of 2
